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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA

                                              CASE NO.

   ANGELA ROBINSON,

             Plaintiff,

   v.

   SHRI MAHAKALI, LLC, a Florida limited
   liability company d/b/a BROOK MOTEL;
   SANTRAM 2430, LLC, a Florida limited
   liability company d/b/a CAMP KNOX MOTEL;
   KALPESHKUMAR C. PATEL, an individual
   a/k/a KALPESH PATEL, and VIPUL NAYEE,
   an individual,

         Defendants.
   ______________________________________/

                  COMPLAINT FOR DAMAGES AND JURY TRIAL DEMANDED

             Plaintiff, ANGELA ROBINSON, (“ROBINSON”), by and through her undersigned

   attorney, files this, her Complaint for Damages against Defendants, SHRI MAHAKALI, LLC, a

   Florida limited liability company d/b/a BROOK MOTEL (hereinafter “BROOK”); SANTRAM

   2430, LLC, a Florida limited liability company d/b/a CAMP KNOX MOTEL (hereinafter,

   “CAMP KNOX”); and, KALPESHKUMAR C. PATEL an individual a/k/a KALPESH PATEL

   (hereinafter “PATEL”); and, VIPUL NAYEE (hereinafter, “NAYEE”) (collectively, “the

   Defendants”), and states as follows:

                                          INTRODUCTION

        1.   This is an action to recover unpaid overtime and minimum wage compensation under the

Fair Labor Standards Act, as amended, 29 U.S.C. § 201 et. seq, (hereinafter “FLSA”); and, minimum

wages under the Florida Minimum Wage Amendment, Article X, §24 of the Florida Constitution.
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                                        JURISDICTION

       2.   This Court has jurisdiction over this controversy pursuant to 29 U.S.C. §216(b) and 28

U.S.C. §1331. At all times pertinent to this Complaint, the Defendants, BROOK and CAMP

KNOX were enterprises engaged in interstate commerce, respectively. At all times pertinent to this

Complaint, BROOK and CAMP KNOX regularly owned and operated a business enterprise,

respectively, engaged in commerce or in the production of goods for commerce as defined in §3(r)

and 3(s) of the FLSA, 29 U.S.C. §203(r) and 203(s).

       3.   The Defendants operated two (2) motels, which operated as a single unified business

enterprise. Plaintiff’s work at these motels involved handling on a regular and recurrent basis

“goods” or “materials,” as defined by the FLSA, which were used commercially in Defendants’

business, and moved in interstate commerce. These materials included office supplies, telephones,

credit card processing equipment, tools, electronic equipment, paper, bedding supplies, cleaners,

and other materials necessary for the operation of a motel—and, were manufactured outside the

State of Florida.

       4.   During the relevant time period, each of the Defendants employed at least two other

individuals besides the Plaintiff, who were “engaged in commerce or in the production of goods for

commerce,” or “had employees handling, selling or otherwise working on goods or materials that

have been moved in or produced for commerce by any person,” as defined in 29 U.S.C.

§203(s)(1)(A)(i). These materials included office supplies, telephones, tools, cleaners, bedding

supplies, computers, electronic equipment, paper, and other materials necessary for the operation of

a motel—and, were manufactured outside the State of Florida.
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       5.   Upon information and belief, during the period of the Plaintiff’s employment, the

Defendants’ enterprise had an annual gross volume of sales made or business done of not less than

five hundred thousand dollars in accordance with §203(s)(1)(A)(ii).

       6.   In addition to the foregoing, the Plaintiff is entitled to the protections of the FLSA as she

was “individually covered” by that statute. During the Plaintiff’s employment, she was required to

use instrumentalities of interstate commerce on a regular and recurrent basis. The Plaintiff used

instrumentalities of interstate commerce (telephone) on a regular and recurrent basis to, inter alia,

assist in the operating of the Defendants’ motel, particularly as to motel guests residing out-of-state.

In addition, on a regular and recurrent basis, Plaintiff processed credit card payments for the

Defendants using instrumentalities of interstate commerce to make calls and or connections (via

telephone and/or broadband) to banks and credit card processors outside the State of Florida.

       7.   The Defendants are subject to the jurisdiction of this Court because they engage in

substantial and not isolated activity within the Middle District of Florida.

       8.   The Defendants are also subject to the jurisdiction of this Court because they operate,

conduct, engage in, and/or carry on business in the Middle of Florida.

                                                 VENUE

       9.   The venue of this Court over this controversy is based upon the following:


                   a.     The unlawful employment practices alleged below occurred and/or were

                          committed in the Middle District of Florida

                          and,

                   b.     Defendants were and continue to be a corporation and individuals doing

                          business within this judicial district.
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                                               PARTIES

      10. At all times material hereto, Plaintiff, ROBINSON was a resident of Hillsborough

County, Florida, and was an “employee” of the Defendants within the meaning of the FLSA.

      11. At all times material hereto, the Defendants were conducting business in Hillsborough

County, Florida.

      12. At all times material hereto, Defendants were the employers of Plaintiff, ROBINSON.

      13. At all times material hereto, Defendants were and continue to be “employer[s]” within

the meaning of the FLSA, the Florida Minimum Wage Amendment (FMWA), Article X, §24 of the

Florida Constitution.

      14. At all times material hereto, Defendants failed to pay Plaintiff, ROBINSON wages in

conformance with the FLSA.

      15. Defendants committed a willful, malicious and unlawful violation of the FLSA and,

therefore, are liable for monetary damages.

      16. At all times material hereto, corporate Defendants, BROOK and CAMP KNOX were an

“enterprise engaged in commerce” within the meaning of the FLSA.

      17. At all times material hereto, the work performed by Plaintiff was directly essential to the

business performed by Defendants.

      18. Plaintiff has fulfilled all conditions precedent to the institution of this action and/or such

conditions have been waived.

                                      STATEMENT OF FACTS

      19. Commencing on or about August 28, 2018, Plaintiff, ROBINSON was hired by the

Defendants to work at the Defendants’ motels. Her employment was terminated on or about

December 11, 2019.
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      20. While employed, the Plaintiff operated Defendants’ motel office, and engaged in

housekeeping, maintenance, landscaping and customer service, among other things.

      21. The Defendants’ motels are frequently visited by out-of-state residents. Because the

Plaintiff frequently worked in the Defendants’ office, and because Defendants would forward motel

phone calls to the Plaintiff’s personal cell phone, the Plaintiff frequently would speak to motel

guests (or prospective guests) who were outside the State of Florida, regarding motel business.

      22. The Defendants failed to keep records in full compliance with the FLSA’s recordkeeping

requirements.

      23.    Plaintiff, ROBINSON was generally paid $500.00 per month.

      24. The Plaintiff generally worked about 7 days per week, and about 13.5 hours per day

(about 94.5 hours per week).      Plaintiff would begin her daily shift early in the morning at

approximately 7:00 a.m. and would work throughout the day/evening until about 7:00 p.m. but also

worked additional hours (about 1.5 hours) in the late evening or in the middle of the night if motel

guests needed assistance.

      25. Because Plaintiff was only paid $500.00 per month, she was effectively paid about

$115.38 per week ($500 per month x 12 months = $6000 / 52 weeks = $115.38) for about 94.5

hours per week.

      26. The Plaintiff worked significant hours because she was involved in nearly every aspect

of running the Defendants’ motels, including but not limited to, working the front desk/office,

handling reservations, checking guests in/out, housekeeping, maintenance, cleaning, landscaping,

repairs, taking payments, processing credit card transactions, making/receiving telephone calls,

assisting guests at all times of day and handling customer complaints.
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       27. The Plaintiff stayed in a room at the Defendants’ motels so she could respond to motel

guest issues at all times of day/night.

       28. During Plaintiff, ROBINSON’s employment, Defendants failed to pay the Plaintiff at or

above the applicable minimum wage for her hours worked.

       29. Even though, Plaintiff, ROBINSON worked in excess of forty hours per week,

Defendants failed to pay her at the rate of time-and-one-half times the applicable minimum wage.

       30. Defendants knowingly, willfully and maliciously operated their business with a policy of

not paying minimum and overtime wages, respectively, for each and every hour worked by Plaintiff

in conformance with the applicable law.

       31. Defendant PATEL was a supervisor and manager/owner who was involved in the day-

to-day operations of BROOK and CAMP KNOX and/or was directly responsible for the supervision

of Plaintiff. Therefore, he is personally liable for the FLSA violations.

       32. Defendant NAYEE was a supervisor and manager/owner who was involved in the day-

to-day operations of BROOK and CAMP KNOX and/or was directly responsible for the supervision

of Plaintiff. Therefore, he is personally liable for the FLSA violations.

       33. Defendants, PATEL was directly involved in decisions affecting employee

compensation and/or hours worked by Plaintiff.

       34. Defendants, NAYEE was directly involved in decisions affecting employee

compensation and/or hours worked by Plaintiff.

       35. Plaintiff has retained Bober & Bober, P.A. to represent her in this litigation and has

agreed to pay the firm a reasonable fee for its services.
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                                     STATEMENT OF CLAIM:

                                                COUNT I

                     VIOLATION OF 29 U.S.C. § 206 (UNPAID MINIMUM WAGES)

      36. Plaintiff realleges Paragraphs 1 through 35 of this Complaint as if fully set forth herein.

      37. Plaintiff’s employment with Defendants was to consist of a normal workweek for which

she was to be compensated at or above the FLSA minimum wage.

      38. 29 U.S.C. § 206 and requires that any employee covered by the FLSA be paid their

minimum wages.

      39. During Plaintiff’s employment, Defendants paid her less than the statutory minimum

wage for all of her work hours.

      40. From about August 22, 2018 to December 31, 2018, the Plaintiff should have been paid

at least the Minimum Wage of $8.25 per hour for each work hour. Because the Plaintiff was

effectively paid $115.38 per week (as aforesaid) for about 94.5 hours per week, the Plaintiff was

effectively paid only $1.22 per hour ($115.38 / 94.5 hours = $1.22). The Plaintiff was, therefore,

“shorted” $7.03 per hour in Minimum Wages ($8.25 - $1.22 = $7.03). For 94.5 hours per week, the

Plaintiff is owed $664.34 per week in 2018 ($7.03 x 94.5 hours = $664.34). Over about 18 weeks,

the Plaintiff is owed $11,958.03 ($664.34 x 18 weeks = $11,958.03).

      41. From about January 1, 2019 to December 11, 2019, the Plaintiff should have been paid

at least the Minimum Wage of $8.46 per hour for each work hour. Because the Plaintiff was

effectively paid $115.38 per week (as aforesaid) for about 94.5 hours per week, the Plaintiff was

effectively paid only $1.22 per hour ($115.38 / 94.5 hours = $1.22). The Plaintiff was, therefore,

“shorted” $7.24 per hour in Minimum Wages ($8.46 - $1.22 = $7.24). For 94.5 hours per week, the
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Plaintiff is owed $684.18 per week in 2019 ($7.24 x 94.5 hours = $684.18). Over about 49 weeks

in 2019, the Plaintiff is owed $33,524.82 ($684.18 x 49 weeks = $33,524.82).

       42. Taking everything above together, during the time period of the Plaintiff’s employment,

Defendants failed to pay her minimum wages for a total of approximately 6,331.5 hours, and owes

the Plaintiff $45,485.85 ($11,958.03 + $33,524.82 = $45,485.85).

       43. The Defendants acted willfully and maliciously in failing to pay proper minimum wages

to the Plaintiff.

       44. As a direct and proximate result of Defendants’ willful violation of the FLSA, Plaintiff is

entitled to liquidated damages pursuant to the FLSA.

           WHEREFORE, Plaintiff respectfully requests:

           a.        judgment in her favor for all unpaid minimum wages due for 2018 through 2019

                     as calculated above;

           b.        liquidated damages;

           c.        attorneys’ fees and costs pursuant to the FLSA;

           d.        post-judgment interest; and

           e.        all other and further relief this Court deems to be just and proper.

                                                   COUNT II

                    VIOLATION OF ARTICLE X, § 24, FLORIDA CONSTITUTION

       45. Plaintiff, ROBINSON realleges Paragraphs 1 through 35 as if fully stated herein.

       46. Pursuant to Article X, Section 24 of the Florida Constitution, Defendants were required

to pay Plaintiff at least the applicable Florida minimum wage.

       47. During Plaintiff’s employment, Defendants paid her less than the statutory minimum

wage for all of her work hours (Plaintiff did not receive wages for her work).
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        48. From about August 22, 2018 to December 31, 2018, the Plaintiff should have been paid

at least the Florida Minimum Wage of $8.25 per hour for each work hour. Because the Plaintiff

was effectively paid $115.38 per week (as aforesaid) for about 94.5 hours per week, the Plaintiff

was effectively paid only $1.22 per hour ($115.38 / 94.5 hours = $1.22). The Plaintiff was,

therefore, “shorted” $7.03 per hour in Florida Minimum Wages ($8.25 - $1.22 = $7.03). For 94.5

hours per week, the Plaintiff is owed $664.34 per week in 2018 ($7.03 x 94.5 hours = $664.34).

Over about 18 weeks, the Plaintiff is owed $11,958.03 ($664.34 x 18 weeks = $11,958.03).

        49. From about January 1, 2019 to December 11, 2019, the Plaintiff should have been paid

at least the Florida Minimum Wage of $8.46 per hour for each work hour. Because the Plaintiff

was effectively paid $115.38 per week (as aforesaid) for about 94.5 hours per week, the Plaintiff

was effectively paid only $1.22 per hour ($115.38 / 94.5 hours = $1.22). The Plaintiff was,

therefore, “shorted” $7.24 per hour in Florida Minimum Wages ($8.46 - $1.22 = $7.24). For 94.5

hours per week, the Plaintiff is owed $684.18 per week in 20198 ($7.24 x 94.5 hours = $684.18).

Over about 49 weeks in 2019, the Plaintiff is owed $33,524.82 ($684.18 x 49 weeks = $33,524.82).

        50. Taking everything above together, during the time period of the Plaintiff’s employment,

Defendants failed to pay her minimum wages for a total of approximately 6,331.5 hours, and owes

the Plaintiff $45,485.85 ($11,958.03 + $33,524.82 = $45,485.85).

        51. The Defendants acted willfully and maliciously in paying Plaintiff below the minimum

wage.

           WHEREFORE, Plaintiff respectfully requests that judgment be entered in her favor

  against the Defendants:

           a.     Declaring that Defendants violated Article X of the Florida Constitution, insofar

                  as failing to pay Plaintiff at or above the minimum wage;
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          b.      Awarding Plaintiff all back wages due and owing in the amount calculated above;

          c.      Awarding Plaintiff liquidated damages in the amount equal to her back wages;

          d.      Awarding Plaintiff reasonable attorney’s fees and costs and expenses of this

                  litigation pursuant to Article X, Sec. 24, Fla. Const.;

          e.      Awarding Plaintiff prejudgment and post-judgment interest;

          f.      Finding that Defendants willfully violated Article X Fla. Const., and ordering

                  Defendants to pay a $1,000.00 fine to the State of Florida for each such violation;

          g.      declaratory relief pursuant to the Florida Constitution and Florida Statutes finding

                  that employees, including Plaintiff, who worked for the Defendants within the last

                  five years were not paid minimum wage for all hours worked as required; and

          h.      Awarding such other and further relief this Court deems to be just and proper.

                                              COUNT III

                    VIOLATION OF 29 U.S.C. § 207 (UNPAID OVERTIME)

      52. Plaintiff, ROBINSON realleges Paragraphs 1 through 35 as if fully stated herein.

      53. Since Plaintiff’s date of hire with Defendants, in addition to Plaintiff’s normal regular

work week, the Plaintiff worked additional hours in excess of forty (40) per week for which she was

not compensated at the statutory rate of time and one-half.

      54. Plaintiff was entitled to be paid at the rate of time and one-half for her hours worked in

excess of the maximum hours provided for in the FLSA.

      55. Defendants failed to pay Plaintiff overtime compensation in the lawful amount for hours

worked by Plaintiff in excess of the maximum hours provided for in the FLSA.

      56. As set forth above, the Plaintiff worked about 54.5 hours of overtime (hours in excess of

40) per week throughout her employment.
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        57. Excluding the minimum wages set forth above, for 2018, Plaintiff is owed an additional

overtime premium (above and beyond the full minimum wage) of $4.13 per overtime hour.

        58. Excluding the minimum wages set forth above, for 2019, Plaintiff, ROBINSON is owed

an additional overtime premium (above and beyond the full minimum wage) of $4.23 per overtime

hour.

        59. In 2018, over about 18 weeks, ROBINSON is owed $4,051.53 in unpaid overtime ($4.13

x 981 overtime hours = $4,051.53).

        60. In 2019, over about 49 weeks, ROBINSON is owed $11,296.22 in unpaid overtime

($4.23 x 2,670.5 overtime hours = $11,296.22).

        61. Excluding amounts owed for minimum wages as set forth in this Complaint, altogether,

ROBINSON is owed $15,347.75 in unpaid overtime wages.

        62. Defendants knew of and/or showed a willful disregard for the provisions of the FLSA as

evidenced by their failure to compensate Plaintiff at the statutory rate of time and one-half for the

hours worked in excess of forty (40) hours per week when it knew or should have known such was

due. Defendants also failed to properly disclose or apprise Plaintiff of her rights under the FLSA.

        63. As a direct and proximate result of Defendants’ willful disregard of the FLSA, Plaintiff

is entitled to liquidated damages pursuant to the FLSA.

        64. Due to the willful, malicious and unlawful acts of Defendants, Plaintiff has suffered

damages in the amount not presently ascertainable of unpaid overtime wages, plus an equal amount

as liquidated damages her reasonable attorney’s fees and costs pursuant to 29 U.S.C. § 216(b).

           WHEREFORE, Plaintiff respectfully requests that judgment be entered in her favor

   against the Defendants:
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       a.      Declaring that the Defendants have violated the maximum hour provisions of 29

               U.S.C. § 207;

       b.      Awarding Plaintiff overtime compensation in the amount calculated ($15,347.75);

       c.      Awarding Plaintiff liquidated damages;

       d.      Awarding Plaintiff reasonable attorney’s fees and costs and expenses of this

               litigation pursuant to 29 U.S.C. § 216(b);

       e.      Awarding Plaintiff post-judgment interest; and

       f.      Ordering any other and further relief this Court deems to be just.



                                         JURY DEMAND

       Plaintiff demands trial by jury on all issues so triable as of right by jury.

Date: January 22, 2020.

                                               Respectfully submitted,

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